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MOTOR VEHICLE RETAIL INSTALLMENT SALES CONTRACT
SIMPLE INTEREST — MASSACHUSETTS eR

Dealer Number: 0000020101 Contract Date: 01/27/2021
BUYER AND CO-BUYER NAME(S) AND ADDRESS(ES)
JENNIFER E GONZALEZ

"27 HAYNES ST APT 1
Worcester, County of WORCESTER, MA 01603

Exwbt

CREDITOR pene NAME AND ADDRESS)
HARR TOYOTA, INC.

100 GOLD STAR BOULEVARD
WORCESTER, MA 01606

Meaning of Words. In this contract, the words “you,” “your” and ‘yours” refer to the Buyer and Co-Buyer, if any. The word ‘Creditor’ refers to the Creditor
(Seller) named above and, after assignment, to Toyota Motor Credit Corporation (“TMCC") and any subsequent assignee.

Who is Bound. You may buy the vehicle described below for cash or on credit. The cash price is shown on page two as “Cash Price.” The credit price is
shown below as “Total Sale Price.” By signing this contract, you choose to buy the vehicle on credit under the terms on all pages of this contract and you
are individually liable to the Creditor for any amount due.

Description of Vehicle. You agree to buy and the Creditor agrees to sell you the following motor vehicle, the “Vehicle”:

Vehicle
2020 Toyota Corolla SE CVT

New, Used, or Demo Vehicle Identification Number Primary Purpose Odometer Mileage
Used JTDS4RCE3LJ031704 Personal 14287

Trade-In Vehicle
2016 Toyota Corolla

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ANNUAL PERCENTAGE RATE] FINANCE CHARGE | Amount Financed | Total of Payments [Total Sale Price
| The cost of your crédit as a The dollar amount the | The amount of credit | The amount you will The total cost of your purchase
yearly rate. credit will cost you. provided to you or on | have paid after you have | on credit, including your
your behalf. made all payments as | downpayment of
scheduled. $ 0.00 ifs
4.43 % TS 4,570.76 $ 27,369.40 $ 31,940.16 3 31,940.16

Your Payment Schedule Will Be:

Number of Payments: Amount of Each Payment: When Payments Are Due:
One Deferred Downpayment of $NIA NIA
—84 _ Regular Payments of $380.24 Monthly, beginning 03/13/2021
One Final Payment of SN/A N/A

Late Charge: If a payment is not paid in full within 15 days after it is due, you will pay a late charge of 5% of the unpaid amount of the late payment
or $5.00, whichever is less.

Prepayment. If you pay off all of your debt early, you will not have to pay a penalty.

Security. You are giving a security interest in the Vehicle being purchased.

Other Terms. Please read all pages of this contract for additional information about security interests, nonpayment, default, any required
repayment in full before the scheduled date, and penalties.

THE INSURANCE, IF ANY, REFERRED TO IN THIS CONTRACT DOES NOT INCLUDE LIABILITY INSURANCE COVERAGE
FOR BODILY INJURY AND PROPERTY DAMAGE CAUSED TO OTHERS.

THE ANNUAL PERCENTAGE RATE MAY BE NEGOTIATED WITH THE DEALER.
THE DEALER MAY ASSIGN THIS CONTRACT AND RETAIN ITS RIGHT
TO RECEIVE A PART OF THE FINANCE CHARGE.

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MOTOR VEHICLE RETAIL INSTALLMENT SALES CONTRACT
SIMPLE INTEREST - MASSACHUSETTS
as” Itenntzation of Amount Financed | -

1. Cash Price (including any accessories, services and taxes)
2. Downpayment

A. Gross Trade-in Value

B. Payoff of Existing Lien or Lease Balance on Trade-in Vehicle
C. Net Trade-in Value (A - B) (indicate if negative number)
D

. Remaining Cash Downpayment (including Deferred Downpayment of $ N/A payable
before the due date of the first regularly scheduled payment)

E. Rebates and Non-Cash Incentives
F. Subtotal (C + D +E)
G. TOTAL DOWNPAYMENT (if Subtotal is negative, Total Downpayment is $0.00)
3. Unpaid Balance of Cash Price (1 minus 2)
4. A. Amounts Paid to Others on Your Behaff (the Creditor may retain or receive a portion of these amounts):
(i) Price of Required Physical Damage Insurance Purchased from the Insurance Company Named Below —

Covering Damage to the Vehicle
(ii) Price of Optional Credit Insurance Purchased from the Insurance Company or Companies Named Below
Life $ N/A. Disability, Accident and Health $ NIA

(iii) Price of Optional Mechanical Breakdown Protection or Service Contract Purchased from the Creditor -
Covering Certain Mechanical Repairs

(iv) Price of Optional Debt Cancellation Coverage or Guaranteed Auto Protection (“GAP”) Purchased
from the GAP Provider Named Below — Covering a Waiver of Deficiency upon Total Loss of Vehicle

(v) Other Charges (Creditor must identify who will receive payment and describe purpose)

To DCU For Prior Credit or Lease Balance
To HARR For DOCUMENT FEE

To HARR For INSPECTION

To N/A For N/A

To N/A For N/A

To N/A For N/A

To NIA For N/A

To N/A For N/A

To NIA For N/A

To N/A For WA

B. Other Amounts Paid to Others on Your Behalf
(i) Official Fees Paid to Public Officials
(ii) Taxes Paid to Government Agencies (Not Included in Cash Price)
(iii) Government License Fees
(iv) Government Registration Fees
(v) Government Certificate of Title Fees
Total Other Charges and Amounts Paid to Others on Your Behalf
5. Amount Financed - Unpaid Balance (3+4)

Page 2 of 6

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ao 7 F# HF HF

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$ 18,653.69/4)

7,000.00
11,936.71
4,936.71

N/A
0.00
4,936.71
$ 0.00 (2)
$18, 653.69/3)

NIA

NIA
1,996.00

1,050.00

4,936.71
598.00
35.00
N/A

N/A

NIA

N/A

NIA

NIA

N/A

NIA
N/A
NIA
25.00
75.00
$8,715.71)
27,369.40(6)

- $27,369.40)

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MOTOR VEHICLE RETAIL INSTALLMENT SALES CONTRACT

SIMPLE INTEREST - MASSACHUSETTS
oo REQUIRED PHYSICAL DAMAGE INSURANCE, Ae Ge
Physical damage insurance is required, but you may provide the required insurance coverage through an existing policy of insurance -

. owned or controlled by you or through anyone you want who is reasonably acceptable to the Creditor. If you buy it through the Creditor and are
accepted by the insurance company, the policies or certificates issued by the insurance company will describe the terms and conditions. The purchase .

" price of this insurance is shown in 4A(i) of the Itemization Section.

_ Insurance Company N/A Term: N/A months :

O $ N/A Deductible Collision AND
0 $ N/A Deductible other than Collision including Fire, Theft and Combined Additional Coverage

-) OPTIONAL INSURANCE AND OTHER OPTIONAL PRODUCTS

Optional Credit insurance. YOU CANNOT BE DENIED CREDIT SIMPLY BECAUSE YOU CHOOSE NOT TO BUY CREDIT INSURANCE, CREDIT :
LIFE INSURANCE AND CREDIT ACCIDENT AND HEALTH INSURANCE ARE NOT REQUIRED TO OBTAIN CREDIT. INSURANCE WILL NOT -
Ee PAOwIGED UNLESS YOU SIGN AND AGREE TO PAY THE ADDITIONAL CHARGE. The purchase price is shown below and in 4A(ii) of the
temization Section. :

O Credit Life - C0 Single Coverage (Buyer Only) 2 Joint Coverage Term (Months) N/A Premium $ N/A

| want the specified credit life coverage.
* Buyer Signature Date Co-Buyer Signature Date /
NIA oy ONA : N/A a ONA
CO Credit Disability - Single Coverage (Buyer Only) Tenn (Months) WA Premium $- NA
| want the specified credit disability coverage.
’ Buyer Signature Date . Co-Buyer Signature . Date
N/A BONA N/A BONA
If you elect optional credit insurance coverage and are accepted by the insurance company, the terms and conditions will be as described -
in the policies or certificates issued by the insurance company. The original amount of the decreasing term credit life insurance will nat exceed
$______N/A . Credit disability insurance payments will equal the monthly payment amount but will notbe more than$ NA.

. Insurance Company N/A _

Optional Mechanical Breakdown Protection (“MBP”): Mechanical breakdown protection is not required to obtain credit and you may .
purchase it from atone you want who is reasonably acceptable to the Creditor. You may purchase MBP under this contract by signing below
and agreeing to pay the purchase price which is shown in 4(iii) of the Itemization above.

The terms of this protection are provided in the separate contract describing the protection. If ee purchase this potectian, you have reviewed the terms
of the contract which describes this protection and you understand that a Copy of your completed contract will be sent to you by the MBP company.

_ MBP Company PABLO CREEK SVCS. INC $ 400,00 Deductible

APPROVAL: YOU WANT TO OBTAIN THE OPTIONAL MECHANICAL BREAKDOWN PROTECTION.

Buyer Signature Date Co-Buyer Signature . Date
ean. NA gl

Optional Debt Cancellation Contract or Guaranteed Auto Protection (“GAP”), GAP is not required to obtain credit and you may purchase it from

anyone you want who is reasonably acceptable to the Creditor. You may purchase GAP under this contract by signing below and agreeing to pay the
purchase price fo the Creditor, which is shown in 4A(iv) of the Itemization Section. If you elect this optional coverage and are accepted by the

GAP provider, the terms and conditions will be as described in the GAP agreement issued by that provider.

GAP Provider TMIS
APPROVAL: YOU WANT TO OBTAIN THE GUARANTEED AUTO PROTECTION DESCRIBED ABOVE.

Buyer Signature Date Co-Buyer Signature ' Date
Le, ~ NIA >

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MOTOR VEHICLE RETAIL INSTALLMENT SALES CONTRACT

SIMPLE INTEREST — MASSACHUSETTS

: : Other Important Agreements -

4. Payments Before or After Scheduled Due Date. This is a simple interest
contract. This means that the amount of the Finance Charge may vary. The
Finance Charge and Total of Payments shown on page one of the contract
are based on the assumption that all payments are made when due. The
Creditor credits each payment first to accrued Finance Charge, then to the
unpaid balance of the Amount Financed and the remainder to unpaid charges.
The Creditor computes your Finance Charge each day on the unpaid balance
of the Amount Financed. The earlier you make payments before their due
dates, the less Finance Charge you will owe. The Creditor will send you a
check for any amount owed to you after your last payment. The later you make
payments after they are due, the greater the Finance Charge. The Creditor will
advise you of any additional amount you owe at the end of the contract term.
You understand that payment of any installment after it Is due will be a default
on your part as stated below.

2, Ownership, Location and Risk of Loss. You agree to pay the Creditor
all you owe under this contract even if the vehicle is damaged, destroyed or
missing. You agree not to sell, transfer, rent, lease or remove the vehicle from
the state in which you reside on the date of this contract without the prior written
pees of the Creditor. The vehicle will be hen at the address you specify
in this contract unless another address fs provided to the Creditor in writing.
You will notify the Creditor in writing of any change In your address where the
vehicle Is regularly located. Under no circumstances will you be permitted to
remove the vehicle from the United States, except to Canada and then only for
a period of 30 days or less. You agree to keep the vehicle properly maintained.
You agree not to expose the vehicle to misuse or confiscation, forfeiture or
other involuntary transfer regardless of whether the vehicle becomes the
subject of formaf judicial or administrative proceedings. You will make sure the
Creditor’s security interest (lien) on the vehicle Is shown on the title.

3. Taxes and Other Charges. You are responsible for and will pay when due
all taxes, repair bills, storage bills, fines, assessments and other charges in
connection with the vehicle. If you fail to pay these amounts the Creditor may
do so for you. If the Creditor does so, you agree to repay the amount when the
Creditor asks for it. You agree to comply with all registration, licensing, tax and

tile laws applicable to the vehicle.
4. Security Interest. You hereby the Creditor a security interest in: (1) the
vehicle tae hSeesories and equipment then erated the
vehicle, any accessions installed In or affixed to the vehicle and any replacement
pas installed in the vehicle; (2) insurance premiums, and charges for mechanical
akdown protection, guaranteed auto protection contracts or other optional
products re! to Creditor, (3) s of any Insurance policies,
mechanical breakdown ion, guaranteed auto protection contracts or other
optional products on the vehicle; and (4) proceeds of any insurance policies on
your Iife or health which are financed in this contract. This secures payment of all
amounts you owe In this contract and in any transfer, renewal, extension, refinancing
of assignment of this contract. It also secures your other agreements in

this contract.

5. Required Physical Damage Insurance. You ane to have physical
damage insurance covering loss or damage to the vefiicle for the term of this
contract. The physical damage insurance must name the Creditor as loss
payee and must require 10 oe advance written notice to the Creditor before
any cancellation or reduction in the insurance coverage. You agree to deliver
promptly to the Creditor whatever written proof of insurance coverage the
Creditor may reasonably request. At any time during the term of this contract,
‘ou do not have physical damage insurance which covers both the Interest
a and the Creditor in the vehicle, then the Creditor may buy it for you.
@ Creditor does not buy pie damage insurance which covers both
it decides, buy Insurance which covers only

i
if
interests In the vehicl, it may,
the Creditors interest.
The Creditor is under no obligation to buy any insurance, but may do so if it
desires. If the Creditor buys elther of these coverages, it will fet you know what
ype it is and the charge you must pay. The charge will consist of the cost of
fe insurance with a finance charge al the Annual Percentage Rate applicable
to thls contract or, if that rate is not authorized, the highest lawful contract rate.
You agree to pay the charge In equal Installments along with the payments
shown on the payment schedule.
If the vehicle is lost or damaged, you agree thal the Creditor can use any
insurance setilement elther to repair the vehicle or to apply to your debt
6. Late Charge. If any payment Is not paid in full within 15 days after it is due,
you agree to pay alate charge of 5% of the unpaid amount of the fate payment
or $5.00, whichever Is less. Acceptance of a fate payment or late charge does
not excuse your late payment or mean that you can keep making payments
after they are due. The Creditor may also take the steps set forth below if there
is any late payment.

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GP) TOYOTA
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7. Optional Insurance or Optional Contracts. This contract may contain
charges for optional insurance, mechanical breakdown jon, guaranteed
auto protection contracts or other optional products. If you default in your
obligations under this contract, you agree that the Creditor may claim benefits
under these contracts and tarmiriate them to obtain refunds for uneamed charges.

8. Insurance or Optional Contract Charges Returned to Creditor. If any
charge for required Insurance is returned to the Creditor, it rey be credited to
the maturing installments of your account or used to buy simifar Insurance or
insurance which covers only the Creditor’s Interest in the vehicle. Any refund
on optional insurance, mechanical breakdown protection, eee auto
ee contracts of ather optional products obtained by the Creditor will
credited to your account. These credits will be applied to as many of your
installments as they will cover, beginning with the final Installment.

9, Default and Right to Cure. You will be In default under this contract if you
fall to pay any payment according to the pene schedule or if ay event
occurs which Substantlalty impairs the value of the vehicle. If you default under
this contract you will have the right to cure your default in the manner and to
the extent specified in the Massachusetts General Laws Annolaled. Time
exercise of a right to cure will restore your rights under this contract as thoug|
no default had occurred.

10. Required Repayment in Full Before the Scheduled Date. Subject to your
right fo cure in the manner and to the extent specified in the Massachusetts
General Laws Annotated, if you are In default, the Creditor can accelerate
¥e payments under this contract and demand that you pay all that you owe
at once.

11. Repossession of the Vehicle for Fallure to Pay. Subject to your right to
cure in the manner and to the extent specified in the Massachusetts General
Laws Annotated, the Creditor can take the vehicle from you (repossession)
if you default under this contract. Unless the vehicle is urchased primarily
for personal, family or household use, the Creditor can, in order to take the
vehicle, enter your roperty, or the where it Is stored, so long as it is
done peacefully and lawfully. If the vehicle Is purchased primarily for personal,
family or household use, the Creditor may not enter property owned or rented
by you in order to repossess unless you consent at that time or unless the
Creditor's right to repossess has been determined by a court. If there is
any personal property In the vehicle, such as clothing, the Creditor can store it
for you. Any accessories, equipment or replacement parts will remain
with the vehicle.

42. Getting the Vehicle Back After Repossession. If the Creditor
repossesses the vehicle, you have the right to get it back eee) by paying
the net amount then due ‘under this conffact, including any late charges an
the actual and reasonable out of pocket expenses of taking, storing and
reconditioning the vehicle. If the Creditor has given you notice that it Intends to
require full payment and notifies you that full pee is required you will have
to pay the net amount you owe on the contract (not just past due payments).
Your right to redeem will end when the vehicle ts sold or when the Creditor
enters Into a contract for lis disposition, whichever occurs first

43. Sale of the Repossessed Vehicle. The Creditor will send you a written
notice of sale at least 20 days before slg the vehicle. If you do not redeem
the vehicle by the date on the notica, the Creditor can sell it. The Creditor will
use the net proceeds of the sale to pay all or part of your debt

To the extent permitted Bye, the net proceeds of sale will be figured this way:
Any reasonable possession and storage costs and, If the vehicle is urchased
primarily for business or agricultural use, any late charges, a charges for
cleaning, advertising, and selling the vehicle, and any reasona fe attorney's
fees and court costs will be subtracted from the selling price.

If you owe the Creditor less than the net oceeds of sale, the difference
is owed you unless the Creditor Is required to pay It to someone else. For
example, the Creditor may be required to pay a lender who has given you a
loan and also taken a security interest in the vehicle.

If you owe more than the net proceeds of sale, and the vehicle is purchased
paimarity for personal, family or household use, you will pay the difference
tween the fair market value of the vehicle and what you owe when the
Creditor asks for it, unless the unpaid balance on the date of default is $2,000
or less. However, if you owe more than the net proceeds of sale and the
vehicle [s purchased primarily for business or agricultural ee will pay the
Creditor the difference between the net proceeds of sale and whal you owe
when the Creditor asks for it. If yau do not pay this amount when asked, you
may also be charged interest at the Annual Percentage Rate applicable to this
contract, not to exceed the highest lawful rate, until you do pay all you owe.

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MOTOR VEHICLE RETAIL INSTALLMENT SALES CONTRACT
SIMPLE INTEREST — MASSACHUSETTS

Recelpt of Goods and Promise to Pay. You one thal you have received the vehicle and/or services described above, and have accepted delivery of the vehicle
in good condition. You promise to pay lo the Creditor the Total Sale Price shown above by making the Total Downpayment and paying the Creditor the Total of
Payments In accordance with the Payment Schedule shown on page one and all other amounts due under this contract.

IMPORTANT. THE TERMS AND CONDITIONS ON ALL PAGES OF THIS DOCUMENT ARE PART OF THIS CONTRACT. READ THESE TERMS AND
CONDITIONS BEFORE SIGNING BELOW.

' Ifthere is a balance due when this contract matures, interest on the unpaid balance will accrue at the following rate until paid in full:___ 4.43 %

NOTICE TO THE BUYER: 4. Do not sign this contract if any of the spaces intended for the agreed terms, to the extent of then
available information, are left blank. 2. You are entitled to an exact copy of the contract you signed. 3. Under the law, you have
the following rights, among others: (a) to pay off in advance the full amount due and to obtain a partial refund of the Finance
Charge; (b) to redeem the property If repossessed for a default; (c) to require, under certain circumstances, a resale of the

property if repossessed.

You signed this contract and received a completely filled in copy.

Name: JENNIFER E GONZALEZ

Co-Buyer Signature N/A E Date NIA
Name: N/A

Name: HARR TOYOTA, INC.

SELLER'S ASSIGNMENT
Seller sells and assigns to Toyota Motor Credit Corporation ("TMCC’) all of its rights, title and interest in this Contract In accordance with the terms of the Retall

Sales Financing Agreement between Seller and TMCC.

Toyota Financlal Servicts'ls a service :- :
mark of Toyota Motor Credit Corporation. Page 6 of 6 3103MA (12/20/17)

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MOTOR VEHICLE RETAIL INSTALLMENT SALES CONTRACT

SIMPLE INTEREST — MASSACHUSETTS

14. Collection Costs. You agree to pay the Creditor a check collection charge
not to exceed $10 in addition to any amount charged by the financial institution
for each check, draft or other form of payment which is returned or dishonored
for any reason.

15. Credit Information. You hereby authorize the Creditor to hnveatiata your
creditworthiness and credit capacity In connection with the establishment,
maintenance and collection of your account and to fumish information
conceming your account, including insurance information, to credit reporting
agencies and others who may lawfully receive such information.

46. Delay in Enforcing Rights and Changes In this Contract. The Creditor
can delay of refrain from enforcing any of its rights under this contract without
losing them. For example, the Creditor can extend the time for making some
payments without extending others. Ay change In the terms of this contract
must be in writing and signed by the Creditor. No oral changes are binding.
if any part of this contract is not valid, all other parts will remain enforceable.

17. Interest after Maturity. If there Is a balance due when this contract matures,
you agree to interest at the Annual Percentage Rate applicable to this
contract, or if thaf rate Is not authorized, the highest l rate.

18. Warrantles Seller Disclalms. You understand that the Seller fs nol offerin
any express warrantles unless: (/) the Seller extends a written warranty, or (i
the window form for a used or demonstration vehicle indicates that the Seller
is giving express warranties.

In addition, there are no implied warranties of merchantability
or fitness for a particular purpose or any other implied
warranties by the Seller covering the vehicle unless: (i) it
is obtained primarily for personal, family or household
use; (ii) the Seller extends a written warranty; (iii) within 90
days from the date of this contract, you enter into a service
contract with the Seller which applies to the motor vehicle
being purchased: or (iv) the window form for a used or
demonstration vehicle states that the Seller is giving implied
warranties. To the extent permitted by applicable law, the
Seller shall have no responsibility to you or to any other
person with respect to any interruption of service, loss of

usiness or anticipated profit or consequential damages.

P) TOYOTA

An implied warranty of merchantability generally means that the vehicle is fit
for the ordinary purpose for which such vehicles are generally used. A warranty
of fitness for a particular purpose is a warranty that may arise when the Seller
has reason to know the particular purpose for which you require the vehicle
and you rely on the Seller's skill or judgment to fumish a suita le vehicle.
This provision does not affect any warranties covering the vehicle which may
be provided by the vehicle manutacturer.

19. Governing Law. Thls contract will be governed by the laws of the
Commonwealth of Massachusetts.

20. Used and Demonstration Car Buyer's Gulde. The Information you see
on the window form for this vehicle Is part of this contract. Information
on the window form overrides any contrary provisions in this contract of
a The preceding NOTICE applies only to'a used or demonstration vehicle
sale.

Guia Para Compradores de Vehiculos Usados o Demostraciones. La
Informacién que ve en el formulario de ta ventanilla para este vehiculo
forma parte del presente contrato. La Informacién del formulario de la
ventanilla deja sin efecto todas las disposiciones en contrarlo contenida
en el contrato de venta. EIAVISO anterior se aplica solamente a la venta de
vehiculo usado o demostracion.

21. Electronic Contracting and Signature Acknowledgement. You agree .

that (i) this contract Is an electronic contract executed by you using your
electronic signature, (ii) your electronic signature signifies your intent to
enter into this contract and that this contract be legally valid and enforceable
in accordance with its terms to the same extent as if you had executed this
contract uEinG Yor written signature and (iii) the authoritative copy of this
contract (“Authoritative Copy") shall be thal electronic an that resides
in a document management system designated by us for the storage. of
authoritative coples of electronic records, which shall be deemed held by
us in the ordinary course of business. Notwithstanding the foregoing,..if the
Authoritative Copy is converted by printing a paper copy which is marked by
us as the original (the “Paper Contract’), then you acknowledge and.

that (1) your signing of t fs contract with your electronic signature=aiso
constitutes issuance and delivery of such Paper Contract, (2) your electronic
signature associated with this contract, when affixed to the Paper Contra
constitutes your legally valid and binding signature on the Paper Contract a
) subsequent to such conversion, your obligations will be evkencedeby the

‘aper Contract alone.

NOTICE: ANY HOLDER OF THIS CONSUMER CREDIT CONTRACT IS SUBJECT TO ALL CLAIMS AND DEFENSES
WHICH THE DEBTOR COULD ASSERT AGAINST THE SELLER OF GOODS OR SERVICES OBTAINED PURSUANT
HERETO OR WITH THE PROCEEDS HEREOF RECOVERY HEREUNDER BY THE DEBTOR SHALL NOT EXCEED

AMOUNTS PAID BY THE DEBTOR HEREUNDER.

The preceding NOTICE applles only to goods or services obtained primarlly for personal, family, or household
use. In all other cases, you will not assert against any subsequent holder or assignee of this contract any
claims or defenses you (debtor) may have against the Seller, or against the manufacturer of the vehicle or

equipment obtained under this contract.

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